                Case 21-12538-mdc                     Doc 15         Filed 09/28/21 Entered 09/28/21 12:59:57       Desc Main
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                                              IN THE UNITED STATES BANKRUPTCY COURT
                                             FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                 IN RE: Taylor Repine                                                       CHAPTER 13
                                                              Debtor(s)
                                                                                            BKY. NO. 21-12538 MDC


                                        ENTRY OF APPEARANCE AND REQUEST FOR NOTICES

                    To the Clerk:

                         Kindly enter my appearance on behalf of NATIONSTAR MORTGAGE LLC D/B/A
                    MR. COOPER and index same on the master mailing list.


                                                                                        Respectfully submitted,


                                                                                /s/${s:1:y:_________________________}
                                                                                 Rebecca Solarz
                                                                                 28 Sep 2021, 09:40:26, EDT



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